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       EXHIBIT C
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                   Declaration of Laura Rasmussen-Torvik, PhD, MPH

 1. My name is Laura Rasmussen-Torvik. I am the Chief of Epidemiology in the
    Department of Preventive Medicine at Northwestern University. I have a PhD in
    Epidemiology and have held a faculty position at Northwestern for over 10 years. My
    CV is attached to this declaration.

 2. I was asked by Plaintiffs’ counsel in Mays v. Dart to review daily counts of positive
    COVID-19 detainees in isolation and convalescent detainees in recovery at the Cook
    County jail to comment on COVID-19 transmission and trends at the Cook County jail.
    However, I am unable to comment on these topics based on these statistics alone.

 3. We cannot truly understand trends only by looking at daily cumulative confirmed case
    counts—which are typically presented in aggregate and not broken down into those in
    isolation and recovery (or positive and "no longer positive" as presented on the Cook
    County Sheriff's office website https://www.cookcountysheriff.org/covid-19-cases-at-
    ccdoc/ ). In order to begin to understand trends in COVID-19 in a location, we need to
    understand how many tests are conducted each day, and how many of these tests are
    positive each day. The less testing you do on a given day, the fewer positive tests you
    will have; however, this does not necessarily indicate that there are fewer cases of disease
    presenting in the population on that day.

 4. For the Cook County Jail, it is important to provide this information both for detainees
    and correctional officers. Per the Cook County Sheriff's website on April 18, it appears
    that cumulatively 445 detainees have been tested for COVID-19 and 350 have tested
    positive—a positive test result rate of over 78%. Per the Illinois Department of Health
    on April 18 in all of Illinois (https://www.dph.illinois.gov/covid19/covid19-statistics),
    137,404 COVID-19 tests had been performed with 29,160 results—a positive rate of
    21%.

 5. At a press conference about COVID-19 on March 30th, Michael Ryan, executive director
    of the WHO Health Emergencies Program, stated that “If 80-90% of the people test
    positive, you are probably missing a lot of cases,” and “we would certainly like to see
    countries testing at the level of ten negative tests to one positive, as a general benchmark
    of a system that's doing enough testing to pick up all cases.”

 6. To understand the trends at the Cook County Jail, it is also necessary to understand how
    "no longer positive" detainees or “convalescent” detainees are classified. The CDC does
    not use the terms "no longer positive" or “convalescent”, but instead provides guidance
    about when people who have tested positive can discontinue isolation based on a) test
    based or b) symptom based strategy. https://www.cdc.gov/coronavirus/2019-
    ncov/hcp/disposition-in-home-patients.html

 7. Because of both widespread issues with access to testing and the lengthy clinical course
    of COVID-19 (particularly in more severe cases), in addition to daily tests and positive
    tests, health departments are tracking the number of COVID-19+ patients (as well as
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       COVID-19 “persons under investigation” or PUI) who are (1) hospitalized but not in the
       ICU and (2) who are hospitalized in the ICU, in order to understand disease trends.

   8. On April 18, the Illinois Department of Health reported 3,148 total COVID + PUI in
      hospitals but not in the ICU, and 1,192 COVID + PUI patients in the ICU
      (https://www.dph.illinois.gov/covid19/hospitalization-utilization) across Illinois. To
      understand COVID-19 trends at the Cook County Jail it would be important to know
      daily counts of the number of detainees hospitalized (including in the hospital facilities
      on the premises of the Jail) and the number requiring ICU care.

   9. Given recent evidence of spread of COVID-19 from people without any symptoms
      (https://www.cdc.gov/mmwr/volumes/69/wr/mm6914e1.htm) it is critical
      that all Illinoisans continue to practice social distancing, remaining 6 feet apart,
      practicing appropriate hand hygiene, and utilizing cloth masks whenever possible in order
      to control the spread of this disease.

I declare under penalty of perjury that the foregoing information I have provided is true and
correct to the best of my knowledge, information, memory, and belief.




April 19, 2020                               /s/ Laura Rasmussen-Torvik
Evanston, Illinois                           Laura Rasmussen-Torvik




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1/2/20

                                     Laura J. Rasmussen-Torvik, PhD, MPH, FAHA

Business Address: 680 N. Lake Shore Drive, Suite 1400, Chicago, IL, 60611
Business Phone: 312-503-3596
Email: ljrtorvik@northwestern.edu

EDUCATION
College
     AB, Dartmouth College, Biogenetics (History minor), 2000

TRAINING
    MPH, University of Minnesota School of Public Health, Epidemiology, 2004
    PhD, University of Minnesota, Epidemiology (Genetics minor), 2007
    Post-Doctoral Fellowship, University of Minnesota, Cardiovascular Disease Epidemiology, 2010


ACADEMIC APPOINTMENTS
    Chief, Division of Epidemiology, Department of Preventive Medicine, Northwestern University Feinberg School
     of Medicine, 2019-present
    Associate Professor, Department of Preventive Medicine, Northwestern University Feinberg School of Medicine,
     2019-present
         o Division of Epidemiology (primary appointment)
         o Division of Health and Biomedical Informatics (secondary appointment)
         o Division of Public Health Practice (secondary appointment)
    Assistant Professor, Department of Preventive Medicine, Northwestern University Feinberg School of Medicine,
     2010-2019
         o Division of Epidemiology (primary appointment)
         o Division of Health and Biomedical Informatics (secondary appointment)
         o Division of Public Health Practice (secondary appointment)
    Member, Center for Genetic Medicine, Northwestern University Feinberg School of Medicine, 2010-present
    MPH Concentration Director, Northwestern University Feinberg School of Medicine, 2015-2017
    Member, Center for Education in the Health Sciences, Northwestern University Feinberg School of Medicine,
     2015-present

HONORS AND AWARDS
   A. Elected Society Memberships
    Phi Beta Kappa, Dartmouth College, 2000
    FAHA, American Heart Association, 2014

    B. International/National/Regional
    US Public Health Service Traineeship, 2002-2003

   C.    University
        Center for Diabetes Research Travel Award, University of Minnesota, 2008
        Feinberg School of Medicine, Outstanding Teacher, 2017
        Program in Public Health, Teaching Excellence Award, 2017 and 2018



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INSTITUTIONAL SERVICE (Committees, Councils, Task Forces)
   A. University
    KL2 Training Grant Executive Committee, Northwestern University, 2015-present

   B.   School
       NUgene Core Committee, Northwestern University Feinberg School of Medicine, 2010-present
       Junior Faculty Research Advisory Council, Northwestern University Feinberg School of Medicine 2011-2015
       MSEB Evaluation and Examination Committee, Northwestern University Feinberg School of Medicine 2011-2017
        (co-chair 2011-2014)
       Research Cores Committee, Northwestern University Feinberg School of Medicine 2013-2016
       MPH Executive Committee, Northwestern University Feinberg School of Medicine, 2014-present

   C. Department
    Department Executive Committee, Northwestern University Feinberg School of Medicine Department of
      Preventive Medicine, 2019-present

COMMUNITY / PUBLIC SERVICE
   Northwestern Medicine Scholars Program at Westinghouse Prep, 2012
   Jump Rope for Heart (AHA), Evanston, IL, 2016

PARTICIPATION IN PROFESSIONAL SOCIETIES AND EXTRAMURAL ORGANIZATIONS
   A. Professional Society Memberships
    AHA, Council on Epidemiology and Prevention, 2005-present
    AHA, Council in Functional Genomics and Translational Biology, 2010-present
    Society for Epidemiologic Research, 2012-present
    International Genetic Epidemiology Society, 2016-present

   B.   Leadership and Service (leadership positions held, committee service, etc.)
       Member, Early Career Committee of the AHA Epidemiology and Prevention, 2012-2014
       Early Career Representative, AHA Epidemiology and Prevention Council Publications Committee, 2012-2014
       Member, Molecular Determinants of Cardiovascular Health Joint Committee of the Functional Genomics and
        Translational Biology and Epidemiology and Prevention Councils, 2015-present
       Member, AHA Epidemiology and Prevention Council Membership Committee, 2016-present

EDITORIAL AND MANUSCRIPT REVIEW RESPONSIBILITIES
     Journal Statistics and Methods Reviewer: JAMA Open
     Journal Manuscript Reviewer: Circulation, Annals of Human Genetics, American Journal of Cardiology, Obesity,
       Arthritis and Rheumatism, Metabolism: Clinical and Experimental, Translational Research, Cancer Epidemiology,
       Biomarkers, and Prevention, JAMA, American Journal of Epidemiology, Circulation: Cardiovascular Genetics,
       Diabetes, Cardiology, Hypertension, International Journal of Obesity, PLOS Genetics, PLOS Medicine, PLOS One,
       BMC Medical Genomics, Diabetes Care
     Internal Manuscript Reviewer: ARIC, MESA, CARDIA, and CHS Studies
     Abstract Reviewer: American Heart Association, Society for Epidemiologic Research, American Diabetes
       Association, Association for Clinical and Translational Science

GRANT REVIEW RESPONSIBILITIES
    Early Career Reviewer, NIH CASE Study Section, February 2014
    Study Section Member, AHA GTOE Pop1 Study Section, 2016
    Study Section Member, AHA, Precision Medicine Artificial Intelligence and Machine Learning, 2019


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GRANT AWARDS AND CLINICAL TRIALS

   A. Current

    Agency: American Heart Association
   ID: 19SFRN34850101
   Title: Integration of genomics into clinical care for SCD
   PI: Rasmussen-Torvik
   Effort: 1.8 Calendar
   Current Year Direct Cost: $181,890
   Project Total Costs: $880,000
   Project Period: 07/01/2019 - 06/30/2023

    Agency: National Center for Chronic Disease Prev. and Health Promotion
   ID: U18DP006120
   Title: Effect of ACA Medicaid Expansion on Diabetes: Diagnosis, Treatment, Patient compliance, and Health Outcomes
   PI: Black
   Role: Co-I
   Effort: 1.8 Calendar
   Current Year Direct Cost: $376,223
   Project Total Costs: $2,191,533
   Project Period: 09/30/15 – 09/29/20

    Agency: National Center for Advancing Translational Sciences
   ID: 5UL1TR001422
   Title: Northwestern University Clinical and Translational Science Institute (NUCATS)
   PI: Lloyd-Jones
   Role: Co-Director RAMP
   Effort: 0.9 Calendar
   Current Year Direct Cost: $4,891,236
   Project Period: 07/15/19 – 06/30/24

    Agency: National Human Genome Research Institute
   ID: U01HG008673
   Title: Genomic Medicine at Northwestern: Discovery and Implementation
   PI: Chisholm
   Role: Co-I
   Effort: 1.2 Calendar
   Current Year Direct Cost: $539,021
   Project Total Costs: $3,403,555
   Project Period: 09/01/15 – 05/31/20

    Agency: National Inst. of Child Health & Human Development
   ID: U54HD085601
   Title: Optimizing Medication Management for Mothers with Depression during Pregnancy (OPTI-MOM)
   PI: Wisner
   Role: Co-I and Pilot PI
   Effort: 2.1 Calendar
   Current Year Direct Cost: $476,122
   Project Total Costs: $3,772,069

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Project Period: 08/01/15 – 06/30/20

 Agency: National Heart Lung and Blood Institute
ID: 2R01HL107577
Title: Determinants, Trajectories, and Consequences of Abnormal Cardiac Mechanics
PI: Shah
Role: Co-I
Effort: 0.6 Calendar
Current Year Direct Cost: $482,548
Project Total Costs: $2,745,518
Project Period: 07/05/16 – 04/30/20

 Agency: National Institute of Child Health and Development
ID: 1R01HD089455-01-A1
Title: Molecular Basis of Altered Drug Metabolism During Pregnancy
PI: Wisner
Role: Co-I
Effort: 0.6 Calendar
Current Year Direct Cost: $236,680
Project Total Costs: $1,495,316
Project Period: 08/10/17 – 06/30/22

 Agency: National Institute of Neurological Disorders and Stroke
ID: U54NS108874
Title: Channelopathy-Associated Epilepsy Research Center
PI: George
Role: Co-I
Effort: 0.6 Calendar
Current Year Direct Cost: $112,247
Project Total Costs: $2,542,337
Project Period: 09/30/18 – 05/31/19

 Agency: National Heart, Lung, and Blood Institute
ID: 75N92020D00004
Title: Multi-Ethnic Study of Atherosclerosis (MESA) - Field Center
PI: Allen
Role: Co-I
Effort: 0.35 Calendar
Current Year Direct Cost: $441,894
Project Period: 12/19/19 – 12/18/24

 Agency: National Heart, Lung, and Blood Institute
ID: 1U01HL146408-01
Title: The American Lung Association (ALA) Cohort
PI: Kalhan
Role: Co-I
Effort: 0.6 Calendar
Current Year Direct Cost: $2,633,107
Project Total Costs: $ 24,800,693.00
Project Period: 06/15/2019 – 04/30/2020

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B. Pending

 Agency: National Human Genome Research Institute
ID: U01HG011169
Title: Northwestern Genomic Risk Assessment and Management Program
MPI: Rasmussen-Torvik
Effort: 4.0 Calendar
Current Year Direct Cost: $680,000
Project Total Costs: $5,632,301
Project Period: 04/01/2020-03/31/2025


C. Past



 Agency: NMH/Friends of Prentice Foundation
ID: Agmt 12/13/17
Title: Elucidating Neonatal Discontinuation Syndrome in Infants Exposed to Antidepressants
PI: Rasmussen-Torvik
Effort: 0 Calendar
Project Total Costs: $50,000
Project Period: 09/01/17-08/31/19
Agency: PCORI via Chicago Community Trust

 Agency: PCORI
ID: PCORI-PFA-2015
Title: PCORnet Bariatric Surgery
PI: Arterburn
Role: Subcontract PI
Effort: 0.60 Calendar
Current Year Direct Cost: $16,344
Project Total Costs: $47,294
Project Period: 02/01/16-01/31/18

 Agency: National Institute on Minority Health and Health Disparities
ID: U54MD010723
Title: African American Cardiovascular pharmacogenetic CONsorTium (ACCOuNT): discovery and translation
PI: Perera
Role: Co-I
Effort: 0.6 Calendar
Current Year Direct Cost: $1,178,917
Project Total Costs: $9,525,128
Project Period: 8/19/2016 – 5/31/2021

 Agency: National Center for Advancing Translational Sciences
ID: UL1TR000150
Title: NU Multidiciplinary Clinical and Translational Science Scholar Program (KL2)
PI: Lloyd-Jones KL2: Scholar Rasmussen-Torvik

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Role: KL2 Scholar
Effort: 9.0 Calendar
Project Total Costs: $4,195,948
Project Period: 05/01/12-04/30/14

 Agency: National Human Genome Research Institute
ID: U01HG006388
Title: eMERGE2-PGx Supplement
PI: Chisholm
Role: Co-I
Effort: 1.2 Calendar
Project Total Costs: $590,560
Project Period: 08/01/12 – 07/31/15

 Agency: National Human Genome Research Institute
ID: U01HG006388
Title: A Personalized Genomic Medicine Pilot Program Using NUgene eMERGE Experience
PI: Chisholm
Role: Co-I
Effort: 0.6 Calendar
Project Total Costs: $3,528,143
Project Period: 08/15/11 – 07/31/15

 Agency: PCORI via Chicago Community Trust
ID: CDRN-1306-04737
Title: Chicago Area Patient Centered Outcomes Research Network (CAPriCORN)
PI: Mazany
Role: Co-I
Effort: 0.6 Calendar
Project Total Costs: $6,615,576
Project Period: 03/01/14 – 8/31/15

 Agency: National Heart Lung and Blood Institute
ID: 1R01HL107577
Title: Study of Cardiac Mechanics in Systemic Hypertension
PI: Shah
Role: Co-I
Effort: 0.6 Calendar
Project Total Costs: $1,395,162
Project Period: 05/21/11 – 03/31/16

 Agency: American Heart Association
ID: 15CVGPSD27260148
Title: Molecular Determinants of Hypertensive Heart Failure with preserved ejection fraction (HFpEF): Genomics,
Transcriptomics, and Proteomics
PI: Shah
Role: Co-I
Effort: 0.6 Calendar
Project Total Costs: $159,990
Project Period: 12/01/15 – 11/30/16

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     Agency: National Human Genome Research Institute
    ID: U01HG004609
    Title: Genome-wide Studies from the NUgene Biorespository
    PI: Chisholm
    Role: Co-I
    Effort: 2.4 Calendar
    Project Total Costs: $4,239,880
    Project Period: 9/27/07-7/31/11

     Agency: Northwestern Memorial Foundation
    ID: 2013 DGTRI
    Title: The association of targeted exonic variants and post-surgical weight loss
    PI: Rasmussen-Torvik
    Effort: 0.12 Calendar
    Project Total Costs: $25,000
    Project Period: 01/01/13 – 12/31/14

     Agency: National Heart Lung and Blood Institute
    ID: N01-HC-48049
    Title: Longitudinal Studies of Coronary Heart Disease Risk Factor in Young Adults (CARDIA)
    PI: Liu
    Role: Co-I
    Effort: 0.6 Calendar
    Project Period: 12/30/83 – 06/30/13

     Agency: National Heart Lung and Blood Institute
    ID: N01-HC-95164
    Title: Multi-Ethnic Study of Atherosclerosis (MESA): Field Center
    PI: Liu
    Role: Co-I
    Effort: 0.6 Calendar
    Project Period: 01/15/99 – 08/14/15


INVITED LECTURES
   A. International/National
    CVD Epidemiology and Electronic Health Records, Presented at Tel Aviv University, Tel Aviv, Israel, April 29th, 2014
    Moderator, Jeremiah and Rose Stamler Award for Young Investigators. Presented at American Heart Association
       2015 Epidemiology and Lifestyle Council Meeting. Baltimore, MD, March 5th 2015
    Outcomes in eMERGE PGx, Presented at Genomic Medicine Meeting X (Hosted by NHGRI Office of Population
       Genomics), Silver Spring, Maryland, May 3rd, 2017
    Clinical Translation of NGS, Panel Member: Front Line Genomics Special Interest Group, Boston, MA, 6/12/18
    The PCORnet Bariatric Study: Preliminary Results from a Large PCORnet Demonstration Project, presented at
       NIH/PCORnet Collaboratory Grand Rounds (webinar), August 17th, 2018.
    Pharmacoepidemiology and Implementation Science Studies: How Can they Guide my Prescribing Practice?
       Presented at Obstetric-Fetal Pharmacology: Practical Prescribing and Research Methods Update, Chicago, IL,
       November 2nd, 2018.
    MESA ROR: discussions to date in multi-center study. TOPMed Steering Committee Meeting. Tysons, VA, April
       24-25, 2019.

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   B. Regional
    The eMERGE PGx project: The Northwestern Experience, Presented at the NorthShore Research Bioinformatics
      Seminar, Evanston, IL March 4th, 2014
    Northwestern EHR/Epidemiology Research, Presented at the Sinai Urban Health Institute Epidemiology Seminar,
      Chicago, IL, May 26th, 2016


   C. Local
    GWAS resources in the Department of Preventive Medicine, Department of Preventive Medicine Cardiovascular
      Epidemiology Seminar, July 13th, 2012
    Demographic predictors of weight loss after bariatric surgery, Department of Preventive Medicine
      Cardiovascular Epidemiology Seminar, June 14th, 2013
    eMERGE-PGx: The Northwestern Experience, Department of Preventive Medicine Cardiovascular Epidemiology
      Seminar March 13th, 2015
    Return of research WGS results to biobank participants: issues and challenges, Department of Preventive
      Medicine Cardiovascular Epidemiology Seminar June 23rd, 2017


   D.   Multi-Center Study
       PGx update, eMERGE study steering committee meeting, February 26th, 2013
       PGx update, eMERGE study steering committee meeting, June 3rd, 2013
       PGx update, eMERGE study steering committee meeting, October 7th, 2013
       Clinical and research genotyping in eMERGE, eMERGE III planning meeting, NHGRI, January 22nd, 2014
       PGx update, eMERGE study steering committee meeting, January 23rd, 2014
       PGx update, eMERGE study steering committee meeting, June 23rd, 2014
       Overlap of Diastolic Dysfunction definitions in CARDIA, CARDIA steering committee meeting, Oct 16th, 2014
       PGx update, eMERGE study steering committee meeting, Dec 4th, 2014
       PGx update, eMERGE study steering committee meeting, March 30th, 2015
       PGx update, eMERGE study steering committee meeting, June 29th, 2015
       PGx update, eMERGE study steering committee meeting, September 16th, 2015
       OPTIMOM Pilot Design, OPRC Network steering committee meeting, October 5th, 2015
       PGx update, eMERGE study steering committee meeting, April 4th, 2016
       Sample selection for Northwestern ACA project, NEXT-D2 steering committee meeting, June 28th, 2016
       PGx update, eMERGE study steering committee meeting, October 6th, 2016
       OPTIMOM Pilot Modifications. OPRC Network steering committee meeting, October 20th, 2016
       PGx update, eMERGE study steering committee meeting, Feb 1st, 2017
       Challenges of Diabetes Definitions for Northwestern ACA project, NEXT-D2 steering committee meeting, Sept
        7th, 2017
       PGx update, eMERGE study steering committee meeting, Oct 10th, 2017
       PGx update, eMERGE study steering committee meeting, Jan 26th, 2018
       PGx update, eMERGE study steering committee meeting, Oct 26th, 2018
       PGx update, eMERGE study steering committee meeting, Jan 17th, 2019
       Expansion of OPTI-MOM Pilot Study, OPRC Network steering committee meeting, March 5th, 2019


PUBLICATIONS AND SCHOLARLY WORK

   A. Peer-reviewed Original Investigations


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1.      Day JW, Ricker K, Jacobsen JF, Rasmussen LJ, Dick KA, Kress W, Schneider C, Koch MC, Beilman GJ, Harrison AR,
Dalton JC, Ranum LP. Myotonic dystrophy type 2: molecular, diagnostic and clinical spectrum. Neurology.
2003;60(4):657-64. Epub 2003/02/26. doi: 10.1212/01.wnl.0000054481.84978.f9. PubMed PMID: 12601109.

2.      Rasmussen-Torvik LJ, North KE, Gu CC, Lewis CE, Wilk JB, Chakravarti A, Chang YP, Miller MB, Li N, Devereux RB,
Arnett DK. A population association study of angiotensinogen polymorphisms and haplotypes with left ventricular
phenotypes. Hypertension. 2005;46(6):1294-9. Epub 2005/11/16. doi: 10.1161/01.HYP.0000192653.17209.84. PubMed
PMID: 16286570.

3.      Folsom AR, Cushman M, Heckbert SR, Ohira T, Rasmussen-Torvik L, Tsai MY. Factor VII coagulant activity, factor
VII -670A/C and -402G/A polymorphisms, and risk of venous thromboembolism. J Thromb Haemost. 2007;5(8):1674-8.
Epub 2007/08/01. doi: 10.1111/j.1538-7836.2007.02620.x. PubMed PMID: 17663738.

4.      Rasmussen-Torvik LJ, Cushman M, Tsai MY, Zhang Y, Heckbert SR, Rosamond WD, Folsom AR. The association of
alpha-fibrinogen Thr312Ala polymorphism and venous thromboembolism in the LITE study. Thromb Res. 2007;121(1):1-
7. Epub 2007/04/17. doi: 10.1016/j.thromres.2007.02.008. PubMed PMID: 17433418; PMCID: PMC2679171.

5.     Rasmussen-Torvik LJ, McAlpine DD. Genetic screening for SSRI drug response among those with major
depression: great promise and unseen perils. Depress Anxiety. 2007;24(5):350-7. Epub 2006/11/11. doi:
10.1002/da.20251. PubMed PMID: 17096399.

6.      Rasmussen-Torvik LJ, Pankow JS, Jacobs DR, Steffen LM, Moran AM, Steinberger J, Sinaiko AR. Heritability and
genetic correlations of insulin sensitivity measured by the euglycaemic clamp. Diabet Med. 2007;24(11):1286-9. Epub
2007/10/25. doi: 10.1111/j.1464-5491.2007.02271.x. PubMed PMID: 17956454.

7.     Rasmussen-Torvik LJ, Pankow JS, Jacobs DR, Jr., Sinaiko AR. Preliminary report: No association between TCF7L2
rs7903146 and euglycemic-clamp-derived insulin sensitivity in a mixed-age cohort. Metabolism. 2009;58(10):1369-71.
Epub 2009/07/04. doi: 10.1016/j.metabol.2009.04.023. PubMed PMID: 19573884; PMCID: PMC2748141.

8.     Rasmussen-Torvik LJ, Pankow JS, Jacobs DR, Jr., Steinberger J, Moran A, Sinaiko AR. The association of SNPs in
ADIPOQ, ADIPOR1, and ADIPOR2 with insulin sensitivity in a cohort of adolescents and their parents. Hum Genet.
2009;125(1):21-8. Epub 2008/11/28. doi: 10.1007/s00439-008-0595-4. PubMed PMID: 19037660; PMCID: PMC2881545.

9.     Rasmussen-Torvik LJ, Pankow JS, Jacobs DR, Jr., Steinberger J, Moran AM, Sinaiko AR. Influence of waist on
adiponectin and insulin sensitivity in adolescence. Obesity (Silver Spring). 2009;17(1):156-61. Epub 2008/12/25. doi:
10.1038/oby.2008.482. PubMed PMID: 19107128; PMCID: PMC2862502.

10.     Rasmussen-Torvik LJ, Pankow JS, Peacock JM, Borecki IB, Hixson JE, Tsai MY, Kabagambe EK, Arnett DK.
Suggestion for linkage of chromosome 1p35.2 and 3q28 to plasma adiponectin concentrations in the GOLDN Study. BMC
Med Genet. 2009;10:39. Epub 2009/05/12. doi: 10.1186/1471-2350-10-39. PubMed PMID: 19426517; PMCID:
PMC2691741.

11.     Bi M, Kao WH, Boerwinkle E, Hoogeveen RC, Rasmussen-Torvik LJ, Astor BC, North KE, Coresh J, Kottgen A.
Association of rs780094 in GCKR with metabolic traits and incident diabetes and cardiovascular disease: the ARIC Study.
PLoS One. 2010;5(7):e11690. Epub 2010/07/28. doi: 10.1371/journal.pone.0011690. PubMed PMID: 20661421; PMCID:
PMC2908550.

12.    Rasmussen-Torvik LJ, Alonso A, Li M, Kao W, Kottgen A, Yan Y, Couper D, Boerwinkle E, Bielinski SJ, Pankow JS.
Impact of repeated measures and sample selection on genome-wide association studies of fasting glucose. Genet


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    A2. Peer-Reviewed Original Investigations (Consortium)

Some of my work as a genetic epidemiologist has involved participation in the large GWAS-meta analyses required to
assemble sufficient sample size for detection of common genetic variants associated with common diseases. I have
explained my role in each of these large consortium with an * after the citation.

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performed the GWAS analyses in the ARIC study for this paper and was part of the primary writing group.

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    B. Invited Reviews and Commentaries

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3.     Rasmussen-Torvik LJ, Colangelo LA, Lima JAC, Jacobs DR, Jr., Rodriguez CJ, Gidding SS, Lloyd-Jones DM, Shah SJ.
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    C. Books and Book Chapters

1.     Katz, DH, Rasmussen-Torvik, LJ. Genome-Wide Association Studies. In: Shah, SJ, Arnett, DK, editors.
Cardiovascular Genetics and Genomics in Clinical Practice. New York: Demos Medical Publishing, LLC; 2015. P. 23-33.

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    E. Case Reports, Letters, Editorials

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    F. Practice Guidelines, Standards, and Consensus Statements

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    I.   Database Deposition

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    K. Abstracts (*denotes presenting author)

            a. Oral Abstract Presentations

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2.      Rasmussen-Torvik LJ*, Pankow JS, Jacobs Jr. DR, Steffen LM, Moran AM, Steinberger S, Leiendecker-Foster C,
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            b. Poster Presentations

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MEDIA COVERAGE AND APPEARANCES


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There article below attracted considerable popular press attention:

Rasmussen-Torvik LJ, Shay CM, Abramson JG, Friedrich CA, Nettleton JA, Prizment AE, Folsom AR. Ideal cardiovascular
health is inversely associated with incident cancer: the Atherosclerosis Risk In Communities study. Circulation.
2013;127(12):1270-5. doi: 10.1161/CIRCULATIONAHA.112.001183. PubMed PMID: 23509058; PMCID: 3685848.

I was interviewed by CBS radio, CTV news, and the Chicago Tribune. Some links to this coverage are pasted below.

http://www.ctvnews.ca/health/health-headlines/how-a-healthy-heart-can-keep-cancer-at-bay-1.1201616

http://www.theglobeandmail.com/life/health-and-fitness/health-navigator/being-heart-healthy-can-help-prevent-
cancer-study/article9927902/

http://www.cbsnews.com/news/key-to-cancer-prevention-may-be-keeping-your-heart-healthy/

http://www.dailymail.co.uk/health/article-2295568/The-seven-point-plan-healthy-life-Simple-lifestyle-steps-help-
prevent-cancer-heart-disease-new-study-finds.html

http://abcnews.go.com/blogs/health/2013/03/18/7-steps-to-cut-cancer-risk-in-half/

http://health.usnews.com/health-news/news/articles/2013/03/18/whats-good-for-the-heart-may-also-prevent-cancer




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